                                    Case 19-11292-JTD                           Doc 1          Filed 06/10/19                 Page 1 of 20

 Fill in this information to identify the case

 United States Bankruptcy Court for the

                              District of   Delaware
                                            (State)
 Case number ( If known):                                          Chapter 11

                                                                                                                                                        ☐    Check if this is
                                                                                                                                                        an amended filing

  Official Form 201
  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                         04/19
  If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if
  known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


    1.   Debtor’s name                                Insys Therapeutics, Inc.


    2.   All other names debtor used                  Neopharm, Inc.
         in the last 8 years

         Include any assumed names, trade
         names, and doing business as
         names



    3.   Debtor’s federal Employer
         Identification Number (EIN)              XX-XXXXXXX


    4.   Debtor’s        Principal place of business                                                           Mailing address, if different from principal place of
         address                                                                                               business


                         1333                         South Spectrum Blvd., Suite 100
                         Number                       Street                                                   Number                      Street



                                                                                                               P.O. Box


                         Chandler                     Arizona              85286
                         City                         State                ZIP Code                            City                        State          ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                                                                               place of business
                         Maricopa County
                         County
                                                                                                               Number                      Street




                                                                                                               City                        State          ZIP Code



    5.   Debtor’s website (URL)                       www.insysrx.com


    6.   Type of debtor                           ☒      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ☐      Partnership (excluding LLP)
                                                  ☐      Other. Specify:



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 Debtor
                                    Case 19-11292-JTD                   Doc 1        Filed 06/10/19      Page 2 of 20
                                                                                               Case number (if known)
                Insys Therapeutics, Inc.
                Name


                                           A. Check one:
 7.   Describe debtor’s business
                                           ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           ☐ Railroad (as defined in 11 U.S.C. § 101(44))
                                           ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           ☒ None of the above Pharmaceutical and Medicine Manufacturing
                                           B. Check all that apply:
                                           ☐ Tax- entity (as described in 26 U.S.C. § 501)
                                           ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                           ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               3254


                                           Check one:
 8.   Under which chapter of the
      Bankruptcy Code is the               ☐   Chapter 7
      debtor filing?                       ☐   Chapter 9
                                           ☒   Chapter 11. Check all that apply:
                                                              ☐      Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                     insiders or affiliates) are less than $2,725,625 (amount subject to adjustment
                                                                     on 4/01/22 and every 3 years after that).
                                                              ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                     debtor is a small business debtor, attach the most recent balance sheet,
                                                                     statement of operations, cash-flow statement, and federal income tax return or
                                                                     if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                                     1116(1)(B).
                                                              ☐      A plan is being filed with this petition.
                                                              ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).
                                                              ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                     the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                     Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                                     Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                                     with this form.
                                                              ☐      The debtor is a shell company as defined in the Securities Exchange Act of
                                                                     1934 Rule 12b-2.
                                           ☐   Chapter 12


 9.   Were prior bankruptcy cases          ☒   No
      filed by or against the debtor
      within the last 8 years?             ☐   Yes        District                       When                           Case number

      If more than 2 cases, attach a                                                                   MM/ DD/ YYYY
      separate list.                                      District                       When                           Case number

                                                                                                       MM / DD/ YYYY

 10. Are any bankruptcy cases              ☐   No
     pending or being filed by a
     business partner or an                ☒   Yes        Debtor          See Schedule 1                                Relationship     See Schedule 1
     affiliate of the debtor?                             District        See Schedule 1                                When             See Schedule 1
      List all cases. If more than 1,
                                                          Case number, if known                                                          MM / DD/ YYYY
      attach a separate list.




 Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         Page 2

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 Debtor
                                  Case 19-11292-JTD                      Doc 1         Filed 06/10/19     Page 3 of 20
                                                                                                 Case number (if known)
                Insys Therapeutics, Inc.
                Name


    11. Why is the case filed in this          Check all that apply:
        district?
                                               ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                    immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                    district.
                                               ☐    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have
                                               ☒ No
     possession of any real
     property or personal property             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     that needs immediate                                Why does the property need immediate attention? (Check all that apply.)
     attention?                                          ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                              health or safety.
                                                              What is the hazard?
                                                         ☐    It needs to be physically secured or protected from the weather.
                                                         ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                              without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                              securities-related assets or other options).

                                                         ☐ Other


                                                         Where is the property?
                                                                                             Number                   Street


                                                                                             City                              State                 ZIP Code
                                                        Is the property insured?
                                                                                           ☐ No
                                                                                          ☐ Yes. Insurance agency
                                                                                                    Contact Name
                                                                                                    Phone




                 Statistical and administrative information



    13. Debtor’s estimation of             Check one:
        available funds                    ☒    Funds will be available for distribution to unsecured creditors.
                                           ☐    After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of                
                                           ☐    1-49                                     ☐     1,000-5,000                             ☐   25,001-50,000
        creditors                          ☐    50-99                                    ☒     5,001-10,000                            ☐   50,001-100,000
          (on a consolidated basis)        ☐    100-199                                  ☐     10,001-25,000                           ☐   More than 100,000
                                           ☐    200-999

    15. Estimated assets                   ☐    $0-$50,000                               ☐     $1,000,001-$10 million                  ☐   $500,000,001-$1 billion
          (on a consolidated basis)        ☐    $50,001-$100,000                         ☐     $10,000,001-$50 million                 ☐   $1,000,000,001-$10 billion
                                           ☐    $100,001-$500,000                                                                      ☐   $10,000,000,001-$50 billion
                                                                                         ☐     $50,000,001-$100 million
                                           ☐    $500,001-$1 million                                                                    ☐   More than $50 billion
                                                                                         ☒     $100,000,001-$500 million

    16. Estimated liabilities              ☐    $0-$50,000                               ☐     $1,000,001-$10 million                  ☐   $500,000,001-$1 billion
          (on a consolidated basis)        ☐    $50,001-$100,000                         ☐     $10,000,001-$50 million                 ☐   $1,000,000,001-$10 billion
                                           ☐    $100,001-$500,000                                                                      ☐   $10,000,000,001-$50 billion
                                                                                         ☐     $50,000,001-$100 million
                                           ☐    $500,001-$1 million                                                                    ☐   More than $50 billion
                                                                                         ☒     $100,000,001-$500 million



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Debtor              lnsys Therapeutics, Inc.                                                           Case number (if known)
                    Name



                    Request for Relief, Declaration, and Signatures


WARNING - Bankruptcy fraud is a serious crime. Making a false state ment in connection with a bankruptcy case can result in fines up to
                    $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

      17. Declaration and signature of                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
          authorized representative of                 this petition.
          debtor
                                                       I have been authorized to file this petition on behalf of the debtor .

                                                        I have examined the information in this petition and have a reasonable belief that the information is
                                                        true and correct.
                                                        I declare under penalty of perjury that the foregoing is true and correct.




                                                                                                                        Andrew G. Long
                                                                                                                        Printed name


                                                             Chief Executive Officer
                                                             Title




                                                JC         /s/ Paul N. Heath
     18. Signature of attorney                                                                                        Date      June 10, 2019
                                                         Signature of attorney for debtor                                       MM/ DD / YYYY

                                                         Paul N. H eat h                                              Gary T. Holtzer
                                                         Printed Name

                                                         Richards, Layton & Finger, P.A.                              Weil, Gotshal & Manges LLP
                                                         Firm Name

                                                         One Rodney Square, 920 North King Street                     767 Fifth Avenue
                                                         Address

                                                         Wilmington, Delaware 19801                                   New York, New York 10153
                                                         City/State/Zip


                                                        (302) 651-7700                                                (212) 310-8000
                                                         Contact Phone

                                                         heath@rlf.com                                                gary. holtzer@weil.com
                                                         Email Address

                                                         3704                               Delaware
                                                         Bar Number                         State




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re                                                        :
                                                             :         Chapter 11
                                                             :
INSYS THERAPEUTICS, INC.,                                    :         Case No. 19-______ (___)
                                                             :
                  Debtor.                                    :
                                                             :
------------------------------------------------------------ x

                            Attachment to Voluntary Petition for Non-Individuals
                                  Filing for Bankruptcy under Chapter 11

      1.     If any of the debtor’s securities are registered under Section 12 of the Securities
Exchange Act of 1934, the SEC file number is 0001516479.

       2.      The following financial data is the latest available information and refers to the
debtor’s condition on March 31, 2019.
           a.   Total assets                                             $   175,114,0561
           b.   Total debts (including debts listed in 2.c., below)      $       262,504,7552
           c.   Debt securities held by more than 500 holders

                                                                                                 Approximate
                                                                                                 number of holder
                  secured            unsecured         subordinated          $
                  secured            unsecured         subordinated          $
                  secured            unsecured         subordinated          $
                  secured            unsecured         subordinated          $

           d.   Number of shares of preferred stock
           e.   Number of shares common stock


           Comments, if any:
           ______________________________________________________________________________________
           ________________________________
       3.        Brief description of debtor’s business: Development, manufacture, and commercialization of
pharmaceutical cannabinoids and spray technology.

        4.       List the names of any person who directly or indirectly owns, controls, or holds, with power to
vote, 5% or more of the voting securities of debtor: John N. Kapoor, Ph.D. (Subject to voting trust).


1
    Consolidated with Debtor affiliates.
2
    Consolidated with Debtor affiliates.




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                                              Schedule 1

              Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

           On the date hereof, each of the affiliated entities listed below (collectively, the
“Debtors”) filed a voluntary petition for relief under chapter 11 of title 11 of the United States
Code in the United States Bankruptcy Court for the District of Delaware. The Debtors have filed
a motion requesting that the chapter 11 cases of these entities be consolidated for procedural
purposes only and jointly administered pursuant to Rule 1015(b) of the Federal Rules of
Bankruptcy Procedure.

                                            COMPANY
                              Insys Therapeutics, Inc.
                              IC Operations, LLC
                              Insys Development Company, Inc.
                              Insys Manufacturing, LLC
                              Insys Pharma, Inc.
                              IPSC, LLC
                              IPT 355, LLC




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                                   RESOLUTIONS OF THE
                               RESTRUCTURING COMMITTEE
                              OF THE BOARD OF DIRECTORS OF
                                 INSYS THERAPEUTICS, INC.

                                           June 9, 2019

               WHEREAS, the Board of Directors (the “Board”) of Insys Therapeutics, Inc., a
Delaware corporation (the “Company”), previously delegated to the Restructuring Committee
(the “Committee”) of the Board the authority to, among other things, consider and evaluate
various strategic alternatives, including but not limited to, the sale or divestiture or licensing of
one or more of the Company’s assets and/or product lines, a filing of petitions by the Company
and certain of its subsidiaries seeking relief under the provisions of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”), other restructuring transactions or transactions to
otherwise address the Company’s liquidity constraints, that may be available to the Company
and its subsidiaries (each such strategic alternative, a “Transaction” and collectively, the
“Transactions”) and if the Committee deems it to be in the best interests of the Company to
authorize and approve the entry into a Transaction by the Company;

              WHEREAS, the Committee, with the assistance of financial and legal advisors,
has been conducting a review of the various Transactions available to the Company;

               WHEREAS, the Committee has met on various occasions to review and has had
the opportunity to ask questions about the materials presented by the management and the legal
and financial advisors of the Company regarding the liabilities and liquidity of the Company, the
various Transactions available to the Company, consequences of not pursuing any Transactions
and the impact of the foregoing on the Company’s business; and

               WHEREAS, in connection therewith, the Committee desires to approve the
following resolutions.

                    NOW, THEREFORE, BE IT HEREBY

Commencement of Chapter 11 Cases

                RESOLVED, that the Committee has determined, after consultation with the
management and the legal and financial advisors of the Company, that it is desirable and in the
best interests of the Company, its creditors, and other parties in interest to approve and authorize
the filing of petitions by the Company and certain of its subsidiaries seeking relief under the
provisions of chapter 11 of the Bankruptcy Code; be it further

               RESOLVED, that any officer of the Company (each, an “Authorized Officer”),
in each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and
directed to execute and file in the name and on behalf of the Company all petitions, schedules,
motions, lists, applications, pleadings, and other documents in the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”), and, in connection therewith, to
employ and retain all assistance by legal counsel, accountants, financial advisors, investment




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bankers and other professionals, and to take and perform any and all further acts and deeds
which such Authorized Officer deems necessary, proper, or desirable in connection with the
chapter 11 cases (the “Chapter 11 Cases”), including, without limitation, (i) implementing a sales
process to sell substantially all of the Company’s assets, and (ii) negotiating, executing,
delivering and performing any and all documents, agreements, certificates and/or instruments in
connection with such sales process and the other transactions and professional retentions set
forth in these resolutions, with a view to the successful prosecution of the Chapter 11 Cases; and
be it further

Retention of Advisors

                RESOLVED, that, in connection with the Chapter 11 Cases, any Authorized
Officer, in each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and
directed, with full power of delegation, in the name and on behalf of the Company, to employ
and retain all assistance by legal counsel, accountants, financial advisors, investment bankers and
other professionals, on behalf of the Company, which such Authorized Officer deems necessary,
appropriate or advisable in connection with, or in furtherance of, the Chapter 11 Cases, with a
view to the successful prosecution of the Chapter 11 Cases (such acts to be conclusive evidence
that such Authorized Officer deemed the same to meet such standard); and be it further

                RESOLVED, that the firm of FTI Consulting, Inc., located at Two North Central
Avenue, #12000, One Renaissance Square, Phoenix, AZ 85004, is hereby retained as financial
advisor for the Company in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it
further

              RESOLVED, that the firm of Lazard Frères & Co. LLC, located at 30
Rockefeller Plaza #5440, New York, NY 10020, is hereby retained as investment banker for the
the Company in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

              RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767
Fifth Avenue, New York, NY 10153, is hereby retained as legal counsel for the Company in the
Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

               RESOLVED, that the law firm of Richards, Layton & Finger, P.A., located at
One Rodney Square, 920 North King Street, Wilmington, DE 19801, is hereby retained as legal
counsel for the Company in the Chapter 11 Case, subject to Bankruptcy Court approval; and be it
further

               RESOLVED, that the firm of Epiq Corporate Restructuring, LLC, located at 777
Third Avenue, 12th Floor, New York, New York 10017, is hereby retained as claims, noticing,
and solicitation agent and administrative advisor for the Company in the Chapter 11 Cases,
subject to Bankruptcy Court approval; and be it further

Approval of Actions of Subsidiaries

                RESOLVED, that in the judgment of the Committee, it is desirable and in the
best interests of certain of the Company’s direct and indirect subsidiaries for each such entity or



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entities to take any and all action, and to execute and deliver all documents, agreements, motions
and pleadings as are necessary, proper, or desirable to enable such subsidiary to carry out the
filing in the Bankruptcy Court contemplated hereby, including granting any director, officer, or
other authorized representative as applicable according to local law, the authority to take action
in support thereof; and be it further

General

               RESOLVED, that any Authorized Officer is hereby authorized, empowered and
directed, in the name and on behalf of the Company, to cause the Company to enter into,
execute, deliver, certify, file and/or record, perform and approve any necessary public
disclosures and filings related to, such documents, agreements, instruments, motions, affidavits,
applications for approvals or rulings of governmental or regulatory authorities and certificates
as may be required in connection with the Chapter 11 Cases, and to take such other actions that
in the judgment of the Authorized Officer shall be or become necessary, proper or desirable in
connection therewith; and be it further

               RESOLVED, that any actions taken by any Authorized Officer, for or on behalf
of the Company, prior to the date hereof that would have been authorized by these resolutions
but for the fact that such actions were taken prior to the date hereof be, and they hereby are,
authorized, adopted, approved, confirmed and ratified in all respects as the actions and deeds of
the Company.




                                                3
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Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                                                                                 12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest
unsecured claims.
Name of creditor and complete mailing    Name, telephone number, and email      Nature of the      Indicate if   Amount of unsecured claim
address, including zip code              address of creditor contact              claim (for        claim is     If the claim is fully unsecured, fill in only
                                                                                example, trade    contingent,    unsecured claim amount. If claim is partially
                                                                                  debts, bank    unliquidated,   secured, fill in total claim amount and deduction for
                                                                                     loans,       or disputed    value of collateral or setoff to calculate unsecured
                                                                                 professional                    claim.
                                                                                 services, and
                                                                                 government
                                                                                   contracts)
                                                                                                                 Total claim, if    Deduction      Unsecured claim
                                                                                                                   partially        for value
                                                                                                                    secured             of
                                                                                                                                    collateral
                                                                                                                                    or setoff
1    THE UNITED STATES                   CONTACT: DAVID T. COHEN,
     UNITED STATES DEPARTMENT OF         SENIOR TRIAL COUNSEL
     JUSTICE                             PHONE: (202) 307-0136
                                                                                 LITIGATION                                                        SEE FOOTNOTE 1
     CIVIL DIVISION / FRAUD SECTION      david.t.cohen@usdoj.gov
     175 N STREET, N.E.
     WASHINGTON, DC 20002
2    THE UNITED STATES                   CONTACT: AMANDA STRACHAN
     CHIEF, HEALTH CARE FRAUD UNIT       PHONE: (617) 748-3643
     US ATTORNEY’S OFFICE FOR THE        Amanda.Strachan@usdoj.gov
                                                                                 LITIGATION                                                         $30,000,000.00
     DISTRICT OF MASSACHUSETTS
     ONE COURTHOUSE WAY, SUITE 9200
     BOSTON, MA 02210
3    WILKINSON WALSH & ESKOVITZ LLP      CONTACT: BETH WILKINSON
     2001 M STREET, NW, SUITE 1000       PHONE: (202) 847-4010                   INDEMNITY -
     WASHINGTON, DC 20036                FAX: (202) 847-4005                    COUNSEL FOR          C, D                                            $8,894,828.47
                                         bwilkinson@wilkinsonwalsh.com          JOHN KAPOOR

4    KING & SPALDING                     CONTACT: WICK SOLLERS
     1700 PENNSYLVANIA AVENUE, NW        PHONE: (202) 626-5612                  INDEMNITY -
     2ND FLOOR                           wsollers@kslaw.com                     COUNSEL FOR          C, D                                            $2,162,222.10
     WASHINGTON, DC 20006                                                       MIKE BABICH

5    NIXON PEABODY LLP                   CONTACT: BRIAN T. KELLY
     EXCHANGE PLACE                      PHONE: (617) 345-1065                   INDEMNITY -
     53 STATE STREET                     FAX: (855)714-9513                     COUNSEL FOR          C, D                                            $1,183,721.97
     BOSTON, MA 02109-2835               bkelly@nixonpeabody.com                JOHN KAPOOR

6    WHITE & CASE LLP                    CONTACT: MICHAEL KENDALL
     75 STATE STREET                     PHONE: (617) 979-9310                  INDEMNITY -
     BOSTON, MA 02109                    michael.kendall@whitecase.com          COUNSEL FOR          C, D                                            $1,001,378.70
                                                                                 JOE ROWAN

7    CRAVATH, SWAINE & MOORE LLP         CONTACT: DAVID M. STUART
     WORLDWIDE PLAZA                     PHONE: (212) 474-1519                 PROFESSIONAL
     825 EIGHTH AVENUE                   FAX: (212) 474-3700                                          D                                               $827,038.37
                                                                                 SERVICES
     NEW YORK, NY 10019-7475             dstuart@cravath.com

8    PAUL HASTINGS LLP                   CONTACT: NAVEEN MODI
     875 15TH STREET, N.W.               PHONE: (202) 551-1990                 PROFESSIONAL
     WASHINGTON, DC 20005                FAX: (202) 551-1705                                          D                                               $781,021.42
                                                                                 SERVICES
                                         naveenmodi@paulhastings.com

9    ROPES & GRAY LLP                    CONTACT: BRIEN OCONNOR
     PRUDENTIAL TOWER                    PHONE: (617) 951-7385                   INDEMNITY -
     800 BOYLSTON STREET                 FAX: (617) 951-7050                    COUNSEL FOR          C, D                                             $596,655.00
     BOSTON, MA 02199-3600               Brien.O'Connor@ropesgray.com           JOHN KAPOOR

10   PAUL, WEISS, RIFKIND, WHARTON &     CONTACT: JACOB A. ADLERSTEIN,
     GARRISON                            PARTNER                                 INDEMNITY -
     1285 AVENUE OF THE AMERICAS         PHONE: (212) 373-3142                  COUNSEL FOR          C, D                                             $564,616.77
     NEW YORK, NY 10019-6064             FAX: (212) 492-0142                    JOHN KAPOOR
                                         jadlerstein@paulweiss.com




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Name of creditor and complete mailing   Name, telephone number, and email       Nature of the      Indicate if   Amount of unsecured claim
address, including zip code             address of creditor contact               claim (for        claim is     If the claim is fully unsecured, fill in only
                                                                                example, trade    contingent,    unsecured claim amount. If claim is partially
                                                                                  debts, bank    unliquidated,   secured, fill in total claim amount and deduction for
                                                                                     loans,       or disputed    value of collateral or setoff to calculate unsecured
                                                                                 professional                    claim.
                                                                                 services, and
                                                                                 government
                                                                                   contracts)
                                                                                                                 Total claim, if    Deduction      Unsecured claim
                                                                                                                   partially        for value
                                                                                                                    secured             of
                                                                                                                                    collateral
                                                                                                                                    or setoff
11   DLA PIPER                          CONTACT: STEVEN PIDGEON
     2525 EAST CAMELBACK ROAD           PHONE: (480) 606-5124                   PROFESSIONAL
     SUITE 1000                         FAX: (480) 606-5524                                                                                           $494,639.40
                                                                                  SERVICES
     PHOENIX, AZ 85016-4232             steven.pidgeon@dlapiper.com

12   SENZER, LTD                        CONTACT: AMY HOLT, LEGAL COUNSEL
     2 ANGEL SQUARE                     PHONE: +44-(0)203-457-0453                 TRADE
     LONDON EC1V 1NY                    info@senzer.com                                                                                               $464,431.00
                                                                                  VENDOR
     UNITED KINGDOM

13   HOLLAND & KNIGHT LLP               CONTACT: MATT DONOHUE
     2300 US BANCORP TOWER              PHONE: (503) 517-2913                   PROFESSIONAL
     11 SW FIFTH AVENUE                 FAX: (503) 241-8014                                                                                           $406,531.40
                                                                                  SERVICES
     PORTLAND, OR 97204                 Matt.Donohue@hklaw.com

14   ANKURA CONSULTING GROUP, LLC       CONTACT: JOHN YAGERLINE
     1220 19TH STREET, NW SUITE 700     PHONE: (202) 721-0948                   PROFESSIONAL
     WASHINGTON, DC 20036               John.Yagerline@ankura.com                                                                                     $401,746.15
                                                                                  SERVICES

15   MINER ORKAND SIDDALL LLP           CONTACT: TRACY MINER
     470 ATLANTIC AVE                   PHONE: (617) 273-8421                   INDEMNITY -
     4TH FLOOR                          tminer@mosllp.com                       COUNSEL FOR          C, D                                             $380,965.56
     BOSTON, MA 02210                                                            MIKE GURRY

16   CARLTON FIELDS                     CONTACT: ADAM SCHWARTZ
     CORPORATE CENTER THREE AT          PHONE: (813) 223-7000
     INTERNATIONAL PLAZA                FAX: (813) 229-4133                     PROFESSIONAL
                                                                                                                                                      $344,712.00
     4221 W. BOY SCOUT BLVD, SUITE      aschwartz@carltonfields.com               SERVICES
     1000
     TAMPA, FL 33607-5780
17   HOGAN LOVELLS US LLP               CONTACT: BILL KETTLEWELL
     100 HIGH STREET                    PHONE: (202) 637-5600                   INDEMNITY -
     20TH FLOOR                         FAX: (617) 371-1037                     COUNSEL FOR          C, D                                             $329,864.28
     BOSTON, MA 02110                   bill.kettlewell@ hoganlovells.com       MIKE BABICH

18   NARDELLO & CO. LLC                 CONTACT: DANIEL NARDELLO, CEO
     565 FIFTH AVE.                     PHONE: (212) 537-5300                    INDEMNITY -
     SUITE 200                          FAX: (212) 537 5333                     COUNSEL FOR          C, D                                             $293,622.36
     NEW YORK, NY 10017                 dnardello@nardelloandco.com             JOHN KAPOOR

19   QUINN EMANUEL URQUHART &           CONTACT: JONATHAN                        INDEMNITY
     SULLIVAN, LLP                      BUNGE                                   COUNSEL FOR
     865 S. FIGUEROA STREET             PHONE: (312) 705-7476                   STEVE MEYER
                                                                                                     C, D                                             $282,352.18
     10TH FLOOR                         FAX: (312) 705-7401                         AND
     LOS ANGELES, CA 90017              jonathanbunge@quinnemanuel.com             PIERRE
                                                                                  LAPALME
20   PRA HEALTH SCIENCES                CONTACT: CHRISTINE
     4130 PARKLAKE AVENUE               ROGERS, DIRECTOR                         INDEMNITY -
     SUITE 400                          PHONE: (919) 786-8463                   COUNSEL FOR          C, D                                             $230,411.37
     RALEIGH, NC 27612                  rogerschristine@prahs.com               JOHN KAPOOR

21   SKADDEN, ARPS, SLATE, MEAGHER &    CONTACT: MATTHEW R. KIPP
     FLOM LLP                           PHONE: (312) 407-0728                   PROFESSIONAL
     155 N. WACKER DRIVE                FAX: (312) 407-8575                                                                                           $179,799.83
                                                                                  SERVICES
     CHICAGO, IL 60606                  matthew.kipp@skadden.com

22   KATTEN MUNCHIN ROSENMAN LLP        CONTACT: SCOTT RESNIK                   INDEMNITY -
     575 MADISON AVE                    PHONE: (213) 443-3000                   COUNSEL FOR
     NEW YORK, NY 10022                 FAX: (212) 894-5513                                          C, D                                             $164,716.79
                                                                                    JEFF
                                        scott.resnik@kattenlaw.com               PEARLMAN




                                                                            2
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                                   Case 19-11292-JTD                      Doc 1         Filed 06/10/19              Page 12 of 20
Name of creditor and complete mailing             Name, telephone number, and email          Nature of the       Indicate if    Amount of unsecured claim
address, including zip code                       address of creditor contact                  claim (for         claim is      If the claim is fully unsecured, fill in only
                                                                                             example, trade     contingent,     unsecured claim amount. If claim is partially
                                                                                               debts, bank     unliquidated,    secured, fill in total claim amount and deduction for
                                                                                                  loans,        or disputed     value of collateral or setoff to calculate unsecured
                                                                                              professional                      claim.
                                                                                              services, and
                                                                                              government
                                                                                                contracts)
                                                                                                                                 Total claim, if   Deduction      Unsecured claim
                                                                                                                                   partially       for value
                                                                                                                                    secured            of
                                                                                                                                                   collateral
                                                                                                                                                   or setoff
23   SHOOK, HARDY & BACON L.L.P.                  CONTACT: JAMES MUEHLBERGER
     2555 GRAND BOULEVARD                         PHONE: (816) 559-2372                      PROFESSIONAL
     KANSAS CITY, MO 64108Washington,             FAX: (816) 421-5547                                                                                                $160,740.96
                                                                                               SERVICES
     District of Columbia 20001                   jmuehlberger@shb.com

24   COVINGTON & BURLING LLP                      CONTACT: GEOFFREY HOBART
     ONE CITY CENTER                              PHONE: (202) 662-6000                      PROFESSIONAL
     850 TENTH ST NW                              ghobart@cov.com                                                                                                    $138,448.85
                                                                                               SERVICES
     WASHINGTON, DC 20001

25   SPECIAL COUNSEL                              CONTACT: MICHAEL MANFREDI
     DEPT CH 14305                                PHONE: (267) 507-2638                      PROFESSIONAL
     PALANTINE, IL 60055-4305                     michael.manfredi@specialcounsel.com                                                                                $135,711.54
                                                                                               SERVICES

26   MCKESSON SPECIALTY AZ                        CONTACT: JEFF REINKE, SVP
     4343 N SCOTTSDALE RD                         PHONE: (480) 663-4000                        CUSTOMER
     STE 150                                      jeff.reinke@mckesson.com                                                                                           $134,618.45
                                                                                               PROGRAM
     SCOTTSDALE, AZ 85251-3351

27   K&L GATES LLP                                CONTACT: JEFFREY W ACRE,
     K&L GATES CENTER                             PARTNER
                                                                                             PROFESSIONAL
     210 SIXTH AVENUE                             PHONE: (412) 355-6506                                              D                                               $122,693.62
                                                                                               SERVICES
     PITTSBURGH, PA 15222-2613                    FAX: (412) 355-6501
                                                  jeffrey.acre@klgates.com
28   PATTERSON BELKNAP WEBB & TYLER LLP           CONTACT: DANIEL A.LOWENTHAL,
                                                                                             INDEMNITY -
     1133 AVENUE OF THE AMERICAS                  PARTNER
                                                                                             COUNSEL FOR
     NEW YORK, NY 10036                           PHONE: (212) 336-2720                                             C, D                                             $122,147.54
                                                                                               PATRICK
                                                  FAX: (212) 336-1253
                                                                                               FORTEAU
                                                  dalowenthal@pbwt.com
29   BERKELEY RESEARCH GROUP, LLC                 CONTACT: LAURA DORMAN,
     2200 POWELL STREET                           MANAGING DIRECTOR & ASSOC.
                                                                                              INDEMNITY -
     SUITE 1200                                   GENERAL COUNSEL
                                                                                             COUNSEL FOR            C, D                                             $118,555.34
     EMERYVILLE, CA 94608                         PHONE: (510) 285-3288
                                                                                             JOHN KAPOOR
                                                  FAX: (510) 654-7857
                                                  ldorman@thinkbrg.com
30   MARINO, TORTORELLA & BOYLE, P.C.             CONTACT: KEVIN H. MARINO,
     437 SOUTHERN BLVD                            PRINCIPAL
                                                                                             PROFESSIONAL
     CHATHAM TOWNSHIP, NJ 07928                   PHONE: (973) 824-9300                                                                                              $110,344.43
                                                                                               SERVICES
                                                  FAX: (973) 824-8425
                                                  kmarino@khmarino.com

Footnote 1: Prior to filing this petition, on June 5, 2019, the Debtors entered into an agreement (the “Civil Settlement Agreement”) with the United States to settle a civil
action brought by the United States against the Debtors relating to certain Covered Conduct (as defined therein) for $195 million paid over five years, plus interest. The
Debtors intend to file a motion in short order seeking approval under Bankruptcy Rule 9019 of a stipulation to be entered into between Insys Therapeutics, Inc. and the United
States after the filing of this petition that fixes a general unsecured claim of the United States in these Chapter 11 Cases in the amount of $243 million, capped at a recovery
of $195 million (inclusive of a $5 million prepetition payment), on account of the Covered Conduct and any claims under the Civil Settlement Agreement, as the Debtors will
set forth more fully in the motion. Absent entry into and approval of such stipulation, the United States has asserted it may have claims against the Debtors in amounts in
excess of $1 billion on account of the Covered Conduct.




                                                                                       3
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 Fill m this information to identify the case

 Debtor name: lns.ys Therapeutics. Inc.
 United States Bankruptcy Court for the District of Delaware
                                                (State)
 Case number (If known):



Official Form 202
   Declaration Under Penalty of Perjury for Non-Individual Debtors                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.


              Declaration and signature



    I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
    partnership; or another individual serving as a representative of the debtor in this case.
    I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
    correct:
    D       Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
    D       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    D       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
    D       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
    D       Schedule H: Codebtors (Official Form 206H)
    D       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
    D       Amended Schedule
    0       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
    D       Other document that requires a declaration ______




                                                X
     Executed on June 10, 2019
                                                                                             behalf of debtor
                 MM/ DD /YYYY

                                                       Printed name
                                                       Chief Executive Officer
                                                       Position or relationship to debtor




 Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
                   Case 19-11292-JTD            Doc 1     Filed 06/10/19        Page 14 of 20




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re                                                        :
                                                             :       Chapter 11
                                                             :
INSYS THERAPEUTICS, INC.,                                    :       Case No. 19-______ (___)
                                                             :
                  Debtor.                                    :
                                                             :
------------------------------------------------------------ x

                  CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

                    Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1,

attached hereto as Exhibit A is an organizational chart reflecting all of the ownership interests in

Insys Therapeutics Inc. and its affiliated debtors, as proposed debtors and debtors in possession

(collectively, the “Debtors”). The Debtors respectfully represents as follows:

           1.       John N. Kapoor, Ph.D owns 63.2% of the equity interests of Insys Therapeutics,

Inc.1 To the best of the Debtors’ knowledge and belief, no other person or entity directly owns

10% or more of Insys Therapeutics, Inc.’s common stock.

           2.       Insys Therapeutics, Inc. directly owns 100% of the equity interests in Insys Pharma,

Inc.

           3.       Insys Pharma, Inc. directly owns 100% of the membership interests or equity

interests, as applicable, of:

                    a. IPT 355, LLC

                    b. IC Operations, LLC

                    c. Insys Development Company, Inc.; and



1
    These shares are held in a voting trust through an agreement with Bessemer Trust Company of Delaware.




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                   Case 19-11292-JTD       Doc 1    Filed 06/10/19   Page 15 of 20




                    d. IPSC, LLC

          4.        Insys Development Company, Inc. directly owns 100% of the membership interests

of Insys Manufacturing, LLC.




                                                   3
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                   Case 19-11292-JTD     Doc 1   Filed 06/10/19   Page 16 of 20




                                            Exhibit A

                                       Organizational Chart




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                         Case 19-11292-JTD                     Doc 1          Filed 06/10/19                Page 18 of 20




 Fill in this information to 1dent1fy the case:

 Debtor name: lnsvs Therapeutics. Inc.
 United States Bankruptcy Court for the District of Delaware
                                                (State)
 Case number (If known):



Official Form 202
   Declaration Under Penalty of Perjury for Non-Individual Debtors                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.


              Declaration and signature



    I am the president. another officer. or an authorized agent of the corporation; a member or an authorized agent of the
    partnership; or another individual serving as a representative of the debtor in this case.
    I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
    correct:
    D       Schedule A/8: Assets-Real and Personal Property (Official Form 206A/B)
    D       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    D       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
    D       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
    D       Schedule H: Codebtors (Official Form 206H)
    D       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
    D       Amended Schedule
    D       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
    0       Other document that requires a declaration Consolid ted Co orate Ownershi Statemen

    I declare under penalty of perjury that the foregoin

                                                  X
     Executed on June 10. 2019
                 MM/DD /YYYY
                                                        Andrew G. Long
                                                        Printed name
                                                        Chief Executive Officer
                                                        Position or relationship to debtor




 Official Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors
                   Case 19-11292-JTD            Doc 1        Filed 06/10/19         Page 19 of 20




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re                                                        :
                                                             :             Chapter 11
                                                             :
INSYS THERAPEUTICS, INC.,                                    :             Case No. 19-______ (___)
                                                             :
                  Debtor.                                    :
                                                             :
------------------------------------------------------------ x

                                       LIST OF EQUITY HOLDERS1

                    Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the

following identifies all holders having a direct or indirect ownership interest of the above-

captioned debtor in possession (the “Debtor”).

Check applicable box:

☐ There are no equity security holders or corporations that directly or indirectly own 10% or
more of any class of the debtor’s equity interest.

☒   The following are the debtor equity security holders (list holders of each class, showing the
number and kind of interests registered in the name of each holder, and the last known address or
place of business of each holder):

     Name and Last Known Address or Place of                           Kind/Class of          Number of
               Business of Holder                                        Interest           Interests Held
             John N. Kapoor, Ph.D.2
       1333 South Spectrum Blvd., Suite 100
             Chandler, Arizona 85286                                       Equity                63.2%
                Maricopa County




1
 This list serves as the required disclosure by the Debtors pursuant to Rule 1007 of the Federal Rules of Bankruptcy
Procedure. All equity positions listed are as of the date of commencement of the Chapter 11 Cases.

2
    These shares are held in a voting trust through an agreement with Bessemer Trust Company of Delaware.


                                                  List of Equity Holders                                         1


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                         Case 19-11292-JTD                     Doc 1          Filed 06/10/19                Page 20 of 20




 Fill 1n this information to 1dent1fy the case:

 Debtor name: lnsys Therapeutics. Inc.
 United States Bankruptcy Court for the District of Delaware
                                                (State)
 Case number (If known):



Official Form 202
   Declaration Under Penalty of Perjury for Non-Individual Debtors                                                              12/15

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this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

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in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.


             Declaration and signature



   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
   partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
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   D       Schedule A/8: Assets-Real and Personal Property (Official Form 206A/B)
   D       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   D       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
   D       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
   D       Schedule H: Codebtors (Official Form 206H)
   D       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
   D       Amended Schedule
   D       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
           (Official Form 204)
   0                                                    i s"'"
           Other document that requires a declaration =L=      o.,_
                                                            t ""' f =E"'u=i=-==...,,.,,,.c.,.,""i'-'=

   I declare under penalty of perjury that the foregoing· true a


                                                  X
    Executed on June 10, 2019
                MM /DD /YYYY

                                                        Printed name
                                                        Chief Executive Officer
                                                        Position or relationship to debtor




Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
